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                     EXHIBIT 2
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                           Case 22-11068-JTD
                                       CIVIL AV Doc  2664-3
                                                IATI ON      Filed 09/21/23
                                                        AUTHORITY  BAHAMAS Page 2 of 2 Certificate No:
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                    ....
                                                                                                  22-001609 586
           __:...                    CERTIFICATE OF REGISTRATION
Nationality & registration:            Manufacturer & designation:                         Aircraft Serial Number:

C6-SPR                                 BOMBARDIER                GLST                                             9295
Name&AddressofOwner: ISLAND AIR CAPITAL LTD.

                                  ISLAND HOUSE, EAST ATLANTIC DRIVE,
                                  FREEPORT, BAHAMAS.
It is hereby certified that the above described aircraft has been duly entered on the Civil
Aircraft Register of The Bahamas in accordance with the Convention on International Civil
Aviation dated 7 December 1944 and with The Bahamas Civil Aviation Regulations CAR REG.020

Date of Issue:                                             v         ctor General, Civil Aviation Authority Bahamas:
22-Apr-2022
                                                           V                                      ____________...
                                                                                     Mr.   lexander B. Ferguson
Date of Expiry:                        REGISTRATION N OT TRANSFERABLE
30-Apr-2025                               TO BE Cl\.RRIED IN AIRCRAFT WHENEVER OPERATED
